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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                               Plaintiff,
                                                      No. 20 Civ. 7311 (LAK) (JLC)
         v.

 DONALD J. TRUMP, in his personal capacity,

                               Defendant.



               AFFIDAVIT OF TREVOR W. MORRISON IN SUPPORT OF
                    MOTION FOR ADMISSION PRO HAC VICE

        I, Trevor W. Morrison, hereby depose and state as follows under penalty of perjury:
        1.     I am an attorney with the law firm of Kaplan Hecker & Fink LLP. My business

contact information is as follows:

               350 Fifth Avenue, 63rd Floor
               New York, New York 10118
               Telephone: (212) 763-0883
               Fax: (212) 937-3734
               Email: tmorrison@kaplanhecker.com

        2.     I submit this Affidavit in support of my Motion for Admission Pro Hac Vice in this

case.

        3.     I am a member in good standing of the District of Columbia Bar. My Certificate of

Good Standing is annexed hereto.

        4.     I have never been convicted of a felony.

        5.     I have never been censured, suspended, disbarred, or denied admission or

readmission by any court.

        6.     There are no disciplinary proceedings presently against me.
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       7.     . I hereby certify that the foregoing statements made by me are true and correct. I am

aware that if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


Dated: January 6, 2023


Sworn to before me this    b day of
       Janu alt1          - ,2023

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Notary Public
                          ABBY CONNELL
                NOTARY PUBLIC, STATE OF NEW YORK
                  Registration No. 01 C06439297
                   Qualified in New York County
                Commission Expires August 22, 2026 ,




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